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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

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                                                    New York, New York 10007


                                                    April 1, 2021
BY ECF

The Honorable Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Stephen Bannon, No. 20 Cr. 412 (AT)

Dear Judge Torres:

        The Government writes in response to defendant Stephen Bannon’s motion to dismiss the
Indictment based on the pardon granted to him by President Donald J. Trump. (Dkt. Nos. 101,
102) (hereinafter “Mem.”). The Government does not dispute that the pardon, which has been
docketed by the Court, see Dkt. No. 79, ends the prosecution as to Bannon under Indictment 20
Cr. 412. However, the Government respectfully submits that there is neither a need for an order
dismissing the Indictment nor any authority mandating such an outcome on these facts. Instead,
the Government submits that the Court can and should direct the Clerk of Court to terminate
Bannon as a defendant in this case and have the docket sheet reflect the pardon as the disposition
of his charges. If the Court is inclined to dismiss the Indictment as to Bannon, the Government
respectfully submits that any order of dismissal should conform to the language and scope of the
pardon.

        While—as Bannon’s motion itself notes—courts have not acted uniformly in ending a case
against a pardoned defendant, there is no question that the Court may simply terminate Bannon
from the case based on the docketed pardon. See, e.g., United States v. Urlacher, No. 20 Cr. 111
(N.D. Ill. Feb. 8, 2021) (Dkt. No. 142) (terminating all motions and pending charges as to a
defendant pardoned prior to being convicted); United States v. Golestaneh, No. 13 Cr. 160 (D. Vt.
Jan. 19, 2016) (Dkt. No. 42) (docketing a presidential pardon for a defendant who had not been
sentenced and notating on the docket sheet that the case against the defendant had been
“terminated” and charges were disposed of by “a full pardon granted”). Moreover, where courts
have entered orders dismissing the indictment, including in many of the cases cited by Bannon,
those orders have generally been entered with the consent of the Government and in cases
involving single defendants. Those facts are obviously not present here, and to the contrary, the
charges and forfeiture allegations remain pending as to the three co-defendants. Notwithstanding
Bannon’s stated preference for an order of dismissal, his motion neither cites to any controlling
authority requiring such a dismissal nor does he indicate why simply terminating him from the
case would be insufficient.
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        In sum, there is no need for action beyond terminating Bannon from the docket because
the presidential pardon has been docketed in this case and speaks for itself. As Bannon’s motion
states, the pardon itself both creates and defines the scope of any “finality” as to which the
defendant is entitled. (Mem. at 10). However, if the Court is inclined to grant some type of
dismissal of the Indictment, the Government respectfully submits that any order of dismissal
should conform to the language and scope of the pardon.


                                            Respectfully submitted,

                                            AUDREY STRAUSS
                                            United States Attorney

                                    By:         /s/
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Cc:    Robert J. Costello, Esq. (by ECF)
